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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

               Plaintiff,
                                                              Case Number09-20536-5-BC
v.                                                            Honorable Thomas L. Ludington

D-5 JWAN HOYT,

               Defendant.

__________________________________________/


         ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
        DEFENDANT’S PLEA OF GUILTY AS TO COUNT ONE OF THE SECOND
     SUPERSEDING INDICTMENT, AND TAKING THE RULE 11 PLEA AGREEMENT
                           UNDER ADVISEMENT

        A plea hearing was conducted on September 1, 2010 by United States Magistrate Judge

Charles E. Binder pursuant to the Defendant’s consent. Judge Binder issued his report on September

2, 2010, recommending acceptance of Defendant’s guilty plea. Either party may serve and file

written objections “[w]ithin fourteen days after being served with a copy” of the report and

recommendations. 28 U.S.C. § 636(b)(1). The district court will make a “de novo determination

of those portions of the report . . . to which objection is made.” Id. Where, as here, neither party

objects to the report, the district court is not obligated to independently review the record. Thomas

v. Arn, 474 U.S. 140, 149–52 (1985).

        Accordingly, it is ORDERED that the magistrate judge’s report and recommendation [Dkt

# 255] is ADOPTED.
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      It is further ORDERED that the defendant’s guilty plea as to count one of the second

superseding indictment is ACCEPTED, and the Rule 11 Plea Agreement [Dkt. # 237] is taken

UNDER ADVISEMENT.

                                                     s/Thomas L. Ludington
                                                     THOMAS L. LUDINGTON
                                                     United States District Judge
Dated: October 15, 2010


                                              PROOF OF SERVICE

                      The undersigned certifies that a copy of the foregoing order was served
                      upon each attorney or party of record herein by electronic means or first
                      class U.S. mail on October 15, 2010.

                                                        s/Tracy A. Jacobs
                                                        TRACY A. JACOBS




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